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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                 Chapter       11
                                                                                                                 Check if this is an
                                                                                                                  amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                     04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     1917 Heights Hospital, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)
                                           3       6 –       4     8        5    0      7     3      6

4.   Debtor's address                  Principal place of business                                 Mailing address, if different from principal
                                                                                                   place of business

                                       1917 Ashland Street, #300                                   1900 North Loop West, Suite 120
                                       Number       Street                                         Number     Street


                                                                                                   P.O. Box



                                       Houston                         TX       77008              Houston                        TX      77018
                                       City                            State    ZIP Code           City                           State   ZIP Code


                                                                                                   Location of principal assets, if different
                                       Harris                                                      from principal place of business
                                       County



                                                                                                   Number     Street




                                                                                                   City                           State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:




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Debtor 1917 Heights Hospital, LLC                                                        Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?                    
                                           Chapter 9
     A debtor who is a "small              Chapter 11. Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                         
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).


                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.


                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                           Chapter 12




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Debtor 1917 Heights Hospital, LLC                                                         Case number (if known)

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY
                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.


                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal
                                           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                 needed.
    property that needs
                                                 Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                      related assets or other options).


                                                     Other


                                                 Where is the property?
                                                                               Number      Street




                                                                               City                                      State        ZIP Code

                                                 Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                               Contact name

                                                               Phone




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Debtor 1917 Heights Hospital, LLC                                               Case number (if known)

18. Signature of attorney           X /s/ Steven Shurn                                              Date   05/31/2021
                                       Signature of attorney for debtor                                    MM / DD / YYYY

                                       Steven Shurn, Partner
                                       Printed name
                                       Hughes Watters Askanase
                                       Firm name
                                       Total Plaza
                                       Number          Street
                                       1201 Louisiana Street, 28th Floor

                                       Houston                                              TX              77002
                                       City                                                 State           ZIP Code


                                       (713) 759-0818                                       sshurn@hwa.com
                                       Contact phone                                        Email address
                                       24013507                                             TX
                                       Bar number                                           State




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